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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 HERMINE BYFIELD,
                                       Plaintiff,                   CIVIL ACTION
                vs.                                              NO. 2:18-cv-00243-PBT

 HEALTHCARE REVENUE RECOVERY
 GROUP, LLC; and DOES 1 through 10, inclusive

                                       Defendants.

                            CERTIFICATE OF CONCURRENCE

        I hereby certify that the undersigned counsel has conferred with counsel for Plaintiff, Eric

Rayz, Esq., who consents to the filing of the Motion for Extension of Time to File Dispositive

Motion.


                                        MARKS, O’NEILL, O’BRIEN
                                        DOHERTY & KELLY, P.C.

                                        /s/ Cecil J. Jones
                                            Cecil J. Jones, Esquire




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